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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA                                  §
                                                          §
vs.                                                       §                    CASE NO.: 3:17-CR-018-K (15)
                                                          §
NATHANIEL SMITH                                           §

                                     REPORT AND RECOMMENDATION
                                      CONCERNING PLEA OF GUILTY

        NATHANIEL SMITH, by consent, under authority of United States v. Dees, 125 F.3d 261 (5 1h Cir. 1997),
has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count 8 ofthe 21 Count
Indictment, filed on January 10,2017. After cautioning and examining Defendant Nathaniel Smith, under oath
concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and
voluntary and that the offense charged is supported by an independent basis in fact containing each of the essential
elements of such offense. I therefore recommend that the plea of guilty be accepted, and that Defendant Nathaniel
Smith, be adjudged guilty of Conspiracy to Possess With Intent to Distribute Cocaine Base, in violation of21 USC
§ 846[21 USC§ 841(a)(1) and (b)(1)(C)], and have sentence imposed accordingly. After being found guilty of the
offense by the district judge.

~~he defendant is currently in custody and should be ordered to remain in custody.
D       The defendant must be ordered detained pursuantto 18 U.S.C. § 3143(a)(1)unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        D       The Government does not oppose release.
        D       The defendant has been compliant with the current conditions of release.
        D       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        D       The Government opposes release.
        D       The defendant has not been compliant with the conditions of release.
        D       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly
        shown under§ 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and
        convinci~g ~vidence that the defendant is not likely to flee ~r pese··a·~ any other person or the
        commumty1freleased.                                      /,_../··           //~~

        Signed September28,2017.                          /                             -

                                                          i'iUL D. STICKNEY
                                                          UNITED STATES MAGISTRATE JUDGE

                                                      NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1)(B).
